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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                                 No. 4:05CR00065-02 JLH

KIM TALBERT                                                                 DEFENDANT


                                           ORDER

       Kim Talbert’s motion to surrender for service of sentence is GRANTED. Document #97.

Kim Talbert will self-report on August 7, 2006, by 2:00 p.m.

       IT IS SO ORDERED this 2nd day of August, 2006.




                                            J. LEON HOLMES
                                            UNITED STATES DISTRICT JUDGE
